






Opinion issued December 14, 2006










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00820-CV






GLENN WRIGHT, Appellant


V.


TRANSIT DELIVERY SOLUTIONS, LLC; BOB CHRISTOPHER,
INDIVIDUALLY; HOUSTON EXPRESS COURIERS, INC.; AND LESTER
THOMPSON, INDIVIDUALLY, Appellees






On Appeal from the County Civil Court at Law No. 3

Harris County, Texas

Trial Court Cause No. 853007






MEMORANDUM OPINION	Appellant Glenn Wright has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2006) (listing fees in court
of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Glenn Wright did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Justices Nuchia, Jennings, and Higley.


